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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

        v.                                                     17-CR-162-V

 RAMONE WESTBROOK,                                             DECISION AND ORDER

            Defendant.
___________________________________


       1. On May 2, 2018, the defendant, Ramone Westbrook, pleaded guilty to Count

1 of the indictment charging a violation of Title 21, United States Code, Section 846

(conspiracy to distribute 5 kilograms or more of cocaine and 280 grams of more of

cocaine base). Docket Item 1.

       2. On May 2, 2018, the Honorable H. Kenneth Schroeder, Jr., United States

Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s plea of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 74.

       3. This Court has not received objections to the Report & Recommendation in

accordance with Title 28, United States Code, Section 636(b)(1), and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object now has expired.

       4. This Court has carefully reviewed de novo Judge Schroeder’s

Report & Recommendation (docket item 74), the plea agreement (docket item 73), the

indictment (docket item 1), a transcript of the digital FTR recording of the plea

proceeding (docket item 91), and the applicable law. This Court finds no legal or factual

error in Judge Schroeder’s Report & Recommendation and therefore adopts Judge
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Schroeder’s recommendation that the defendant’s plea of guilty be accepted and that

the defendant be adjudged guilty of Count 1 of the indictment.

         IT IS HEREBY ORDERED that this Court adopts Judge Schroeder’s May 2, 2018

Report & Recommendation, Docket Item 74, in its entirety, including the authorities cited

and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s plea of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Ramone Westbrook, is now adjudged guilty under Title 21, United

States Code, Section 846.



         SO ORDERED.

Dated:         July 18, 2018
               Buffalo, New York



                                              s/ Lawrence J. Vilardo
                                             LAWRENCE J. VILARDO
                                             UNITED STATES DISTRICT JUDGE




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